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                                              EXHIBIT 3
   From: Court Data Requests <courtdatarequests@judicial.state.co.us>
   Sent: Friday, September 1, 2023 5:43 PM
   To: barry@arringtonpc.com
   Subject: RE: Data Request

   Hello Barry,

   Great – thank you for the clarification!

   Please find attached the compiled results of cases filed statewide between January 1, 2017
   through January 31, 2023 containing a charge, or charges, under C.R.S. 18-12-302. Be aware
   that the list will not include, if any exist, cases that are sealed or is either a juvenile, probate, or
   mental health case type. For ease of interpretation, I have attached documents defining the
   charge status and the demographic codes.

   There is no charge for this request.

   Thank you,
                                          Sierra Candelaria
                                          (She, Her, Hers)
                                          Court Programs Analyst
                                          Court Operations, Research, & Education Unit
                                          Court Services Division
                                          State Court Administrator’s Office
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    CourtLoc-Name-District        Case Number              Law Number
     24 - Gilpin County - 1     D0242023CR000078    18-12-302
     24 - Gilpin County - 1     D0242023CR000078    18-12-302
     24 - Gilpin County - 1     D0242023CR000078    18-12-302
     24 - Gilpin County - 1     D0242023CR000078    18-12-302
     24 - Gilpin County - 1     D0242023CR000078    18-12-302
     24 - Gilpin County - 1     D0242023CR000078    18-12-302
    30 - Jefferson County - 1   C0302017M 001232    18-12-302
    30 - Jefferson County - 1   C0302019M 003012    18-12-302
    30 - Jefferson County - 1   C0302019M 004346    18-12-302
    30 - Jefferson County - 1   C0302019M 005762    18-12-302
    30 - Jefferson County - 1   C0302020M 001292    18-12-302
    30 - Jefferson County - 1   C0302020M 001292    18-12-302
    30 - Jefferson County - 1   C0302020M 001473    18-12-302
    30 - Jefferson County - 1   C0302020M 001473    18-12-302
    30 - Jefferson County - 1   C0302020M 001477    18-12-302
    30 - Jefferson County - 1   C0302021M 006008    18-12-302
    30 - Jefferson County - 1   C0302022M 000347    18-12-302
    30 - Jefferson County - 1   C0302022M 001581    18-12-302
    30 - Jefferson County - 1   C0302022M 002657    18-12-302
    30 - Jefferson County - 1   C0302022M 004937    18-12-302
    30 - Jefferson County - 1   C0302022M 005268    18-12-302
    30 - Jefferson County - 1   C0302022M 005268    18-12-302
    30 - Jefferson County - 1   C0302022M 005268    18-12-302
    30 - Jefferson County - 1   C0302023M 000451    18-12-302
    30 - Jefferson County - 1   C0302023M 002771    18-12-302
    30 - Jefferson County - 1   C0302023M 003274    18-12-302
    30 - Jefferson County - 1   D0302017CR000780   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302017CR003171   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302017CR003702   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302018CR001551   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302018CR001551   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302018CR001551   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302018CR003965   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302018CR003993   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302018CR004556   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302018CR004727    18-12-302
    30 - Jefferson County - 1   D0302019CR001688   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302019CR001688   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001925    18-12-302
    30 - Jefferson County - 1   D0302019CR001934   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302019CR002359   18-12-302(1)(a),(c)
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                                     16


    30 - Jefferson County - 1   D0302020CR000190    18-12-302
    30 - Jefferson County - 1   D0302020CR002176    18-12-302
    30 - Jefferson County - 1   D0302020CR002176    18-12-302
    30 - Jefferson County - 1   D0302020CR002176    18-12-302
    30 - Jefferson County - 1   D0302020CR002317   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302020CR003627   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302020CR004142   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302021CR000444    18-12-302
    30 - Jefferson County - 1   D0302021CR000708    18-12-302
    30 - Jefferson County - 1   D0302021CR000823    18-12-302
    30 - Jefferson County - 1   D0302021CR001006   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302021CR001014   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302021CR001305   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302021CR001926    18-12-302
    30 - Jefferson County - 1   D0302021CR002023    18-12-302
    30 - Jefferson County - 1   D0302021CR002450   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302021CR002775    18-12-302
    30 - Jefferson County - 1   D0302021CR003188    18-12-302
    30 - Jefferson County - 1   D0302022CR000327   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR000475   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR001058    18-12-302
    30 - Jefferson County - 1   D0302022CR001529   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR001579   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR001776   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR001776    18-12-302
    30 - Jefferson County - 1   D0302022CR001896    18-12-302
    30 - Jefferson County - 1   D0302022CR001896    18-12-302
    30 - Jefferson County - 1   D0302022CR001896    18-12-302
    30 - Jefferson County - 1   D0302022CR001896    18-12-302
    30 - Jefferson County - 1   D0302022CR001896    18-12-302
    30 - Jefferson County - 1   D0302022CR001896    18-12-302
    30 - Jefferson County - 1   D0302022CR001896    18-12-302
    30 - Jefferson County - 1   D0302022CR002117   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR002250   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR002360   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR002423   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR002423   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR002423   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR002485    18-12-302
    30 - Jefferson County - 1   D0302022CR002540   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302022CR003175   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR000004    18-12-302
    30 - Jefferson County - 1   D0302023CR000022   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR000189    18-12-302
    30 - Jefferson County - 1   D0302023CR000349    18-12-302
    30 - Jefferson County - 1   D0302023CR000410   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR000416   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR000603    18-12-302
    30 - Jefferson County - 1   D0302023CR000858   18-12-302(1)(a),(c)
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    30 - Jefferson County - 1   D0302023CR001418   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR001432   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR001480   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR001561    18-12-302
    30 - Jefferson County - 1   D0302023CR001619   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001658    18-12-302
    30 - Jefferson County - 1   D0302023CR001739   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR001739   18-12-302(1)(a),(c)
    30 - Jefferson County - 1   D0302023CR001759   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162017CR006192   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162017CR007815    18-12-302
     16 - Denver District - 2   D0162018CR001012   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162018CR006784    18-12-302
     16 - Denver District - 2   D0162018CR007383   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162019CR001216   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162019CR002633   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162019CR003151    18-12-302
     16 - Denver District - 2   D0162019CR005235    18-12-302
     16 - Denver District - 2   D0162019CR006867   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162019CR007538   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162019CR008733   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162019CR008856   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162019CR008856   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000304   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000310   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR000595   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR001188   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR001446   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR002615   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR002962   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003286   18-12-302(1)(a),(c)
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     16 - Denver District - 2   D0162020CR003585   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003585   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003585   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003585   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003585   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003585   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003585    18-12-302
     16 - Denver District - 2   D0162020CR003585    18-12-302
     16 - Denver District - 2   D0162020CR003585    18-12-302
     16 - Denver District - 2   D0162020CR003908   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003908    18-12-302
     16 - Denver District - 2   D0162020CR003950   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003950   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003950   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003950   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR003950   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR004187   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR004187   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR004421   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR004647    18-12-302
     16 - Denver District - 2   D0162020CR004839   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR004985   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005021   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005089   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005262   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005262   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005352   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005352   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005462   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005603   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005753   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005753   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005753   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005753   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005753   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR005753   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR006145   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR006459   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162020CR006795    18-12-302
     16 - Denver District - 2   D0162020CR006795    18-12-302
     16 - Denver District - 2   D0162021CR000149    18-12-302
     16 - Denver District - 2   D0162021CR000149    18-12-302
     16 - Denver District - 2   D0162021CR000149    18-12-302
     16 - Denver District - 2   D0162021CR000747   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR000747   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR001602   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR001721   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR001721   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR002512   18-12-302(1)(a),(c)
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                                     16


     16 - Denver District - 2   D0162021CR002564    18-12-302
     16 - Denver District - 2   D0162021CR002564    18-12-302
     16 - Denver District - 2   D0162021CR002681    18-12-302
     16 - Denver District - 2   D0162021CR003357    18-12-302
     16 - Denver District - 2   D0162021CR003357    18-12-302
     16 - Denver District - 2   D0162021CR003357    18-12-302
     16 - Denver District - 2   D0162021CR003357    18-12-302
     16 - Denver District - 2   D0162021CR003387   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR003647   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR004212   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR004627   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR004741    18-12-302
     16 - Denver District - 2   D0162021CR004742    18-12-302
     16 - Denver District - 2   D0162021CR005218    18-12-302
     16 - Denver District - 2   D0162021CR005334   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR005527    18-12-302
     16 - Denver District - 2   D0162021CR005545    18-12-302
     16 - Denver District - 2   D0162021CR005808   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR005876    18-12-302
     16 - Denver District - 2   D0162021CR005969   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR006401    18-12-302
     16 - Denver District - 2   D0162021CR006568   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR006664    18-12-302
     16 - Denver District - 2   D0162021CR006664    18-12-302
     16 - Denver District - 2   D0162021CR006787    18-12-302
     16 - Denver District - 2   D0162021CR006962   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR006964    18-12-302
     16 - Denver District - 2   D0162021CR006964   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR006964    18-12-302
     16 - Denver District - 2   D0162021CR006964   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR007564   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162021CR007565   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR000484   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001062   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001275   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001276   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001276   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001575   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001575   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001575   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001575   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001800   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR001924    18-12-302
     16 - Denver District - 2   D0162022CR002178    18-12-302
     16 - Denver District - 2   D0162022CR002353    18-12-302
     16 - Denver District - 2   D0162022CR002353    18-12-302
     16 - Denver District - 2   D0162022CR002353    18-12-302
     16 - Denver District - 2   D0162022CR002395   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002395   18-12-302(1)(a),(c)
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                                     16


     16 - Denver District - 2   D0162022CR002395   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002395   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002395    18-12-302
     16 - Denver District - 2   D0162022CR002395   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002435   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002453   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002467   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002618    18-12-302
     16 - Denver District - 2   D0162022CR002673   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR002673    18-12-302
     16 - Denver District - 2   D0162022CR003203    18-12-302
     16 - Denver District - 2   D0162022CR003444   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR003450   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR003537   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR003565   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR003733    18-12-302
     16 - Denver District - 2   D0162022CR004470   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR004651   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR004718    18-12-302
     16 - Denver District - 2   D0162022CR004831   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR005533    18-12-302
     16 - Denver District - 2   D0162022CR005646   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR005931   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR006011   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR006339    18-12-302
     16 - Denver District - 2   D0162022CR006384    18-12-302
     16 - Denver District - 2   D0162022CR006831   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162022CR006964    18-12-302
     16 - Denver District - 2   D0162022CR007109   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR000023   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR000433   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR000433    18-12-302
     16 - Denver District - 2   D0162023CR000781   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR001508    18-12-302
     16 - Denver District - 2   D0162023CR001508    18-12-302
     16 - Denver District - 2   D0162023CR001508    18-12-302
     16 - Denver District - 2   D0162023CR001508    18-12-302
     16 - Denver District - 2   D0162023CR002386    18-12-302
     16 - Denver District - 2   D0162023CR002820    18-12-302
     16 - Denver District - 2   D0162023CR002849   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR003456   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR003547   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR003763   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR004229   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR004230   18-12-302(1)(a),(c)
     16 - Denver District - 2   D0162023CR004243    18-12-302
     16 - Denver District - 2   D0162023CR004243    18-12-302
     16 - Denver District - 2   D0162023CR004243    18-12-302
     16 - Denver District - 2   D0162023CR004301    18-12-302
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      16 - Denver District - 2   D0162023CR004417   18-12-302(1)(a),(c)
      16 - Denver District - 2   D0162023CR015078   18-12-302(1)(a),(c)
     28 - Huerfano County - 3    D0282022CR000137    18-12-302
    36 - Las Animas County - 3   D0362022CR000042    18-12-302
    36 - Las Animas County - 3   D0362022CR000042    18-12-302
    36 - Las Animas County - 3   D0362022CR000042    18-12-302
    36 - Las Animas County - 3   D0362022CR000042    18-12-302
    36 - Las Animas County - 3   D0362022CR000042    18-12-302
    36 - Las Animas County - 3   D0362022CR000146    18-12-302
    36 - Las Animas County - 3   D0362022CR000206   18-12-302(1)(a),(c)
     21 - El Paso County - 4     C0212019M 006710    18-12-302
     21 - El Paso County - 4     C0212020M 005249    18-12-302
     21 - El Paso County - 4     C0212021M 007187    18-12-302
     21 - El Paso County - 4     C0212022M 001201    18-12-302
     21 - El Paso County - 4     C0212022M 002298    18-12-302
     21 - El Paso County - 4     C0212022M 003920    18-12-302
     21 - El Paso County - 4     C0212022M 004485    18-12-302
     21 - El Paso County - 4     C0212022M 004485    18-12-302
     21 - El Paso County - 4     C0212022M 005894    18-12-302
     21 - El Paso County - 4     C0212023M 002259    18-12-302
     21 - El Paso County - 4     C0212023M 003943    18-12-302
     21 - El Paso County - 4     C0212023M 005108    18-12-302
     21 - El Paso County - 4     D0212017CR003813    18-12-302
     21 - El Paso County - 4     D0212018CR006610   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212018CR007216    18-12-302
     21 - El Paso County - 4     D0212018CR007840   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212019CR000463   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212019CR002405    18-12-302
     21 - El Paso County - 4     D0212019CR004248    18-12-302
     21 - El Paso County - 4     D0212019CR008217    18-12-302
     21 - El Paso County - 4     D0212020CR001986   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212020CR002370   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212020CR002635   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212020CR002635    18-12-302
     21 - El Paso County - 4     D0212020CR002760    18-12-302
     21 - El Paso County - 4     D0212020CR002971    18-12-302
     21 - El Paso County - 4     D0212020CR004538    18-12-302
     21 - El Paso County - 4     D0212020CR006180   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212020CR006671   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212020CR006852    18-12-302
     21 - El Paso County - 4     D0212020CR006937   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212020CR007222    18-12-302
     21 - El Paso County - 4     D0212021CR001891    18-12-302
     21 - El Paso County - 4     D0212021CR002079    18-12-302
     21 - El Paso County - 4     D0212021CR002357    18-12-302
     21 - El Paso County - 4     D0212021CR002546   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212021CR003337   18-12-302(1)(a),(c)
     21 - El Paso County - 4     D0212021CR005398    18-12-302
     21 - El Paso County - 4     D0212022CR000297    18-12-302
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      21 - El Paso County - 4     D0212022CR000391   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR000989    18-12-302
      21 - El Paso County - 4     D0212022CR001822   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR001841    18-12-302
      21 - El Paso County - 4     D0212022CR002427    18-12-302
      21 - El Paso County - 4     D0212022CR002538   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR002722    18-12-302
      21 - El Paso County - 4     D0212022CR003437   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR003437   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR003437   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR003437   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR003437   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR003897   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR004933    18-12-302
      21 - El Paso County - 4     D0212022CR004998    18-12-302
      21 - El Paso County - 4     D0212022CR005372   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR005487   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR005591    18-12-302
      21 - El Paso County - 4     D0212022CR005727   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212022CR006134    18-12-302
      21 - El Paso County - 4     D0212022CR006361   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212023CR000919   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212023CR002747   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212023CR002784    18-12-302
      21 - El Paso County - 4     D0212023CR003314   18-12-302(1)(a),(c)
      21 - El Paso County - 4     D0212023CR003374   18-12-302(1)(a),(c)
       60 - Teller County - 4     C0602020M 000132    18-12-302
    10 - Clear Creek County - 5   C0102023M 000016    18-12-302
    10 - Clear Creek County - 5   D0102018CR000011    18-12-302
    10 - Clear Creek County - 5   D0102018CR000011    18-12-302
    10 - Clear Creek County - 5   D0102023CR000027    18-12-302
       19 - Eagle County - 5      D0192020CR000057   18-12-302(1)(a),(c)
       19 - Eagle County - 5      D0192020CR000154    18-12-302
       19 - Eagle County - 5      D0192020CR000154    18-12-302
       19 - Eagle County - 5      D0192022CR000180   18-12-302(1)(a),(c)
       19 - Eagle County - 5      D0192023CR005004   18-12-302(1)(a),(c)
       19 - Eagle County - 5      D0192023CR005005   18-12-302(1)(a),(c)
       33 - Lake County - 5       D0332017CR000072    18-12-302
     34 - La Plata County - 6     D0342017CR000332    18-12-302
     34 - La Plata County - 6     D0342021CR000356    18-12-302
       15 - Delta County - 7      C0152019M 000393    18-12-302
       15 - Delta County - 7      D0152021CR000230   18-12-302(1)(a),(c)
       15 - Delta County - 7      D0152021CR000230   18-12-302(1)(a),(c)
       15 - Delta County - 7      D0152021CR000230   18-12-302(1)(a),(c)
       15 - Delta County - 7      D0152021CR000230   18-12-302(1)(a),(c)
     26 - Gunnison County - 7     D0262023CR000029   18-12-302(1)(a),(c)
     26 - Gunnison County - 7     D0262023CR000029   18-12-302(1)(a),(c)
     43 - Montrose County - 7     C0432021M 000005    18-12-302
     43 - Montrose County - 7     D0432019CR000190    18-12-302
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      43 - Montrose County - 7           D0432019CR000218   18-12-302(1)(a),(c)
      43 - Montrose County - 7           D0432019CR000219   18-12-302(1)(a),(c)
      43 - Montrose County - 7           D0432021CR000132    18-12-302
       35 - Larimer County - 8           C0352018M 002083    18-12-302
       35 - Larimer County - 8           C0352022M 002691    18-12-302
       35 - Larimer County - 8           C0352023M 001934    18-12-302
       35 - Larimer County - 8           D0352022CR001386   18-12-302(1)(a),(c)
       35 - Larimer County - 8           D0352022CR001386   18-12-302(1)(a),(c)
       35 - Larimer County - 8           D0352022CR001520   18-12-302(1)(a),(c)
       35 - Larimer County - 8           D0352022CR005225   18-12-302(1)(a),(c)
       35 - Larimer County - 8           D0352023CR000315   18-12-302(1)(a),(c)
       35 - Larimer County - 8           D0352023CR000549   18-12-302(1)(a),(c)
       35 - Larimer County - 8           D0352023CR000674    18-12-302
       35 - Larimer County - 8           D0352023CR000674    18-12-302
       35 - Larimer County - 8           D0352023CR000674    18-12-302
       35 - Larimer County - 8           D0352023CR000674    18-12-302
       35 - Larimer County - 8           D0352023CR000679    18-12-302
       35 - Larimer County - 8           D0352023CR000679    18-12-302
       35 - Larimer County - 8           D0352023CR000679    18-12-302
       35 - Larimer County - 8           D0352023CR000679    18-12-302
85 - Larimer County Court-Loveland - 8   C0852021M 000336    18-12-302
85 - Larimer County Court-Loveland - 8   C0852022M 000303    18-12-302
85 - Larimer County Court-Loveland - 8   C0852022M 001452    18-12-302
85 - Larimer County Court-Loveland - 8   C0852023M 000095    18-12-302
85 - Larimer County Court-Loveland - 8   C0852023M 000564    18-12-302
       23 - Garfield County - 9          C0232019M 000395    18-12-302
       23 - Garfield County - 9          D0232023CR005003    18-12-302
 65 - Rio Blanco County, Rangely - 9     C0652022M 000009    18-12-302
       51 - Pueblo County - 10           C0512019M 002292    18-12-302
       51 - Pueblo County - 10           D0512017CR000465    18-12-302
       51 - Pueblo County - 10           D0512018CR001403   18-12-302(1)(a),(c)
       51 - Pueblo County - 10           D0512019CR000563   18-12-302(1)(a),(c)
       51 - Pueblo County - 10           D0512019CR001251   18-12-302(1)(a),(c)
       51 - Pueblo County - 10           D0512021CR001914   18-12-302(1)(a),(c)
       51 - Pueblo County - 10           D0512022CR001755   18-12-302(1)(a),(c)
       51 - Pueblo County - 10           D0512023CR000416    18-12-302
       51 - Pueblo County - 10           D0512023CR000416    18-12-302
       51 - Pueblo County - 10           D0512023CR001124    18-12-302
       51 - Pueblo County - 10           D0512023CR001214   18-12-302(1)(a),(c)
      22 - Fremont County - 11           D0222017CR000663    18-12-302
       2 - Alamosa County - 12           D0022019CR000228   18-12-302(1)(a),(c)
       2 - Alamosa County - 12           D0022019CR000380    18-12-302
       2 - Alamosa County - 12           D0022020CR000265    18-12-302
       2 - Alamosa County - 12           D0022022CR000226   18-12-302(1)(a),(c)
       2 - Alamosa County - 12           D0022022CR000226   18-12-302(1)(a),(c)
       2 - Alamosa County - 12           D0022022CR000226   18-12-302(1)(a),(c)
       2 - Alamosa County - 12           D0022022CR000226   18-12-302(1)(a),(c)
       2 - Alamosa County - 12           D0022022CR000226   18-12-302(1)(a),(c)
       2 - Alamosa County - 12           D0022022CR000226   18-12-302(1)(a),(c)
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    11 - Conejos County - 12   D0112020CR000064    18-12-302
    11 - Conejos County - 12   D0112020CR000064    18-12-302
    44 - Morgan County - 13    D0442023CR000008    18-12-302
     25 - Grand County - 14    D0252020CR000066    18-12-302
     54 - Routt County - 14    C0542023M 000159    18-12-302
    9 - Cheyenne County - 15   D0092021CR000001    18-12-302
      6 - Bent County - 16     C0062022M 000023    18-12-302
    13 - Crowley County - 16   D0132021CR000033   18-12-302(1)(a),(c)
     45 - Otero County - 16    C0452021M 000379    18-12-302
     45 - Otero County - 16    D0452018CR000032    18-12-302
     1 - Adams County - 17     C0012018M 003412    18-12-302
     1 - Adams County - 17     C0012018M 005383    18-12-302
     1 - Adams County - 17     C0012019M 001482    18-12-302
     1 - Adams County - 17     C0012019M 001783    18-12-302
     1 - Adams County - 17     C0012020M 003863    18-12-302
     1 - Adams County - 17     C0012021M 004475    18-12-302
     1 - Adams County - 17     C0012022M 001646    18-12-302
     1 - Adams County - 17     C0012022M 002050    18-12-302
     1 - Adams County - 17     C0012022M 002053    18-12-302
     1 - Adams County - 17     C0012022M 002099    18-12-302
     1 - Adams County - 17     C0012022M 003397    18-12-302
     1 - Adams County - 17     C0012022M 004143    18-12-302
     1 - Adams County - 17     C0012022M 004272    18-12-302
     1 - Adams County - 17     C0012022M 005282    18-12-302
     1 - Adams County - 17     C0012023M 000073    18-12-302
     1 - Adams County - 17     C0012023M 000135    18-12-302
     1 - Adams County - 17     C0012023M 000343    18-12-302
     1 - Adams County - 17     C0012023M 001051    18-12-302
     1 - Adams County - 17     C0012023M 001712    18-12-302
     1 - Adams County - 17     C0012023M 001862    18-12-302
     1 - Adams County - 17     C0012023M 002297    18-12-302
     1 - Adams County - 17     C0012023M 002386    18-12-302
     1 - Adams County - 17     C0012023M 002400    18-12-302
     1 - Adams County - 17     C0012023M 002491    18-12-302
     1 - Adams County - 17     C0012023M 002666    18-12-302
     1 - Adams County - 17     C0012023M 002840    18-12-302
     1 - Adams County - 17     C0012023M 003089    18-12-302
     1 - Adams County - 17     C0012023M 003440    18-12-302
     1 - Adams County - 17     D0012018CR001480    18-12-302
     1 - Adams County - 17     D0012019CR000584    18-12-302
     1 - Adams County - 17     D0012019CR000635    18-12-302
     1 - Adams County - 17     D0012019CR000746    18-12-302
     1 - Adams County - 17     D0012019CR002202    18-12-302
     1 - Adams County - 17     D0012019CR002202    18-12-302
     1 - Adams County - 17     D0012019CR002202    18-12-302
     1 - Adams County - 17     D0012019CR002202    18-12-302
     1 - Adams County - 17     D0012019CR002923    18-12-302
     1 - Adams County - 17     D0012019CR003744   18-12-302(1)(a),(c)
     1 - Adams County - 17     D0012020CR002346    18-12-302
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     1 - Adams County - 17       D0012020CR002741    18-12-302
     1 - Adams County - 17       D0012020CR003001    18-12-302
     1 - Adams County - 17       D0012020CR004000   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012021CR000167   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012021CR001364    18-12-302
     1 - Adams County - 17       D0012021CR002070   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012021CR002082    18-12-302
     1 - Adams County - 17       D0012021CR002787    18-12-302
     1 - Adams County - 17       D0012021CR003253    18-12-302
     1 - Adams County - 17       D0012021CR003283   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012021CR003366   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012021CR004135    18-12-302
     1 - Adams County - 17       D0012022CR000523    18-12-302
     1 - Adams County - 17       D0012022CR000523    18-12-302
     1 - Adams County - 17       D0012022CR001295    18-12-302
     1 - Adams County - 17       D0012022CR001339   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012022CR001702    18-12-302
     1 - Adams County - 17       D0012022CR002059   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012022CR002146   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012022CR002723    18-12-302
     1 - Adams County - 17       D0012022CR002759   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012022CR002942   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012022CR002988   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012022CR002990   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012022CR003813    18-12-302
     1 - Adams County - 17       D0012023CR000122    18-12-302
     1 - Adams County - 17       D0012023CR000476    18-12-302
     1 - Adams County - 17       D0012023CR001537   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012023CR002033    18-12-302
     1 - Adams County - 17       D0012023CR002407   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012023CR002510   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012023CR002636    18-12-302
     1 - Adams County - 17       D0012023CR002646   18-12-302(1)(a),(c)
     1 - Adams County - 17       D0012023CR002656    18-12-302
   80 - Broomfield County - 17   C0802022M 000327    18-12-302
   80 - Broomfield County - 17   C0802023M 000022    18-12-302
   80 - Broomfield County - 17   C0802023M 000050    18-12-302
   80 - Broomfield County - 17   D0802017CR000363    18-12-302
   80 - Broomfield County - 17   D0802020CR000145   18-12-302(1)(a),(c)
   80 - Broomfield County - 17   D0802022CR000346    18-12-302
   80 - Broomfield County - 17   D0802022CR000361    18-12-302
   80 - Broomfield County - 17   D0802023CR000381   18-12-302(1)(a),(c)
   80 - Broomfield County - 17   D0802023CR000418    18-12-302
    3 - Arapahoe County - 18     C0032017M 002690    18-12-302
    3 - Arapahoe County - 18     C0032017M 003869    18-12-302
    3 - Arapahoe County - 18     C0032018M 000586    18-12-302
    3 - Arapahoe County - 18     C0032018M 001464    18-12-302
    3 - Arapahoe County - 18     C0032018M 002260    18-12-302
    3 - Arapahoe County - 18     C0032018M 002556    18-12-302
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    3 - Arapahoe County - 18   C0032019M 003671    18-12-302
    3 - Arapahoe County - 18   C0032021M 000430    18-12-302
    3 - Arapahoe County - 18   C0032022M 000671    18-12-302
    3 - Arapahoe County - 18   C0032022M 000701    18-12-302
    3 - Arapahoe County - 18   C0032022M 000783    18-12-302
    3 - Arapahoe County - 18   C0032022M 001022    18-12-302
    3 - Arapahoe County - 18   C0032022M 001497    18-12-302
    3 - Arapahoe County - 18   C0032022M 002370    18-12-302
    3 - Arapahoe County - 18   C0032022M 002370    18-12-302
    3 - Arapahoe County - 18   C0032022M 002370    18-12-302
    3 - Arapahoe County - 18   C0032022M 002370    18-12-302
    3 - Arapahoe County - 18   C0032022M 002383    18-12-302
    3 - Arapahoe County - 18   C0032022M 002478    18-12-302
    3 - Arapahoe County - 18   C0032022M 002828    18-12-302
    3 - Arapahoe County - 18   C0032022M 002939    18-12-302
    3 - Arapahoe County - 18   C0032022M 003056    18-12-302
    3 - Arapahoe County - 18   C0032022M 003300    18-12-302
    3 - Arapahoe County - 18   C0032022M 003370    18-12-302
    3 - Arapahoe County - 18   C0032022M 003569    18-12-302
    3 - Arapahoe County - 18   C0032022M 003637    18-12-302
    3 - Arapahoe County - 18   C0032022M 003725    18-12-302
    3 - Arapahoe County - 18   C0032022M 003766    18-12-302
    3 - Arapahoe County - 18   C0032022M 004070    18-12-302
    3 - Arapahoe County - 18   C0032023M 000037    18-12-302
    3 - Arapahoe County - 18   C0032023M 000813    18-12-302
    3 - Arapahoe County - 18   C0032023M 000813    18-12-302
    3 - Arapahoe County - 18   C0032023M 000940    18-12-302
    3 - Arapahoe County - 18   C0032023M 000949    18-12-302
    3 - Arapahoe County - 18   C0032023M 001075    18-12-302
    3 - Arapahoe County - 18   C0032023M 001506    18-12-302
    3 - Arapahoe County - 18   C0032023M 001567    18-12-302
    3 - Arapahoe County - 18   C0032023M 001681    18-12-302
    3 - Arapahoe County - 18   C0032023M 002388    18-12-302
    3 - Arapahoe County - 18   C0032023M 002439    18-12-302
    3 - Arapahoe County - 18   C0032023M 002611    18-12-302
    3 - Arapahoe County - 18   C0032023M 002612    18-12-302
    3 - Arapahoe County - 18   C0032023M 002733    18-12-302
    3 - Arapahoe County - 18   C0032023M 002785    18-12-302
    3 - Arapahoe County - 18   D0032018CR001136    18-12-302
    3 - Arapahoe County - 18   D0032018CR001869   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032018CR001869   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032018CR003291    18-12-302
    3 - Arapahoe County - 18   D0032019CR000036    18-12-302
    3 - Arapahoe County - 18   D0032019CR001688   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032019CR003118   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032019CR003144   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR001100   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR001233   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR001233   18-12-302(1)(a),(c)
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    3 - Arapahoe County - 18   D0032020CR001757   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR002414   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR002526   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR002526   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR002573   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032020CR002573    18-12-302
    3 - Arapahoe County - 18   D0032020CR002725    18-12-302
    3 - Arapahoe County - 18   D0032020CR002768    18-12-302
    3 - Arapahoe County - 18   D0032020CR002974    18-12-302
    3 - Arapahoe County - 18   D0032021CR000221   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032021CR000419   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032021CR000626    18-12-302
    3 - Arapahoe County - 18   D0032021CR001017    18-12-302
    3 - Arapahoe County - 18   D0032021CR001176   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032021CR001521   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032021CR001521   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032021CR001522   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032021CR002565    18-12-302
    3 - Arapahoe County - 18   D0032021CR002620   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032021CR002675    18-12-302
    3 - Arapahoe County - 18   D0032021CR002735    18-12-302
    3 - Arapahoe County - 18   D0032021CR002735    18-12-302
    3 - Arapahoe County - 18   D0032022CR000060   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR000459   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR000706   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR000746   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR000837   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR000842   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR000923   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR000927    18-12-302
    3 - Arapahoe County - 18   D0032022CR001242   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR001355   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR001594    18-12-302
    3 - Arapahoe County - 18   D0032022CR001701   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR001747    18-12-302
    3 - Arapahoe County - 18   D0032022CR001880   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR001880   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR002090   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR002253   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR002341   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR002403   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR002472    18-12-302
    3 - Arapahoe County - 18   D0032022CR002560    18-12-302
    3 - Arapahoe County - 18   D0032022CR002579   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR002813   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032022CR002866    18-12-302
    3 - Arapahoe County - 18   D0032023CR000249    18-12-302
    3 - Arapahoe County - 18   D0032023CR000249    18-12-302
    3 - Arapahoe County - 18   D0032023CR000288   18-12-302(1)(a),(c)
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    3 - Arapahoe County - 18   D0032023CR000313    18-12-302
    3 - Arapahoe County - 18   D0032023CR000576   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR000624   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR000734   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR000734   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR000815    18-12-302
    3 - Arapahoe County - 18   D0032023CR000819    18-12-302
    3 - Arapahoe County - 18   D0032023CR000847    18-12-302
    3 - Arapahoe County - 18   D0032023CR000950   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR000968   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR001040   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR001041   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR001082   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR001460   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR001561    18-12-302
    3 - Arapahoe County - 18   D0032023CR001728   18-12-302(1)(a),(c)
    3 - Arapahoe County - 18   D0032023CR001803    18-12-302
    3 - Arapahoe County - 18   D0032023CR001925   18-12-302(1)(a),(c)
    18 - Douglas County - 18   C0182017M 001617    18-12-302
    18 - Douglas County - 18   C0182022M 002303    18-12-302
    18 - Douglas County - 18   C0182023M 001304    18-12-302
    18 - Douglas County - 18   C0182023M 002130    18-12-302
    18 - Douglas County - 18   D0182018CR000068    18-12-302
    18 - Douglas County - 18   D0182022CR000090   18-12-302(1)(a),(c)
    18 - Douglas County - 18   D0182022CR001146   18-12-302(1)(a),(c)
     20 - Elbert County - 18   C0202023M 000080    18-12-302
     20 - Elbert County - 18   D0202020CR000087   18-12-302(1)(a),(c)
     20 - Elbert County - 18   D0202022CR000065   18-12-302(1)(a),(c)
     20 - Elbert County - 18   D0202022CR000065   18-12-302(1)(a),(c)
     20 - Elbert County - 18   D0202022CR000065   18-12-302(1)(a),(c)
     20 - Elbert County - 18   D0202022CR000066   18-12-302(1)(a),(c)
     20 - Elbert County - 18   D0202022CR000066   18-12-302(1)(a),(c)
     62 - Weld County - 19     C0622022M 000018    18-12-302
     62 - Weld County - 19     C0622022M 002186    18-12-302
     62 - Weld County - 19     C0622022M 002251    18-12-302
     62 - Weld County - 19     C0622022M 002251    18-12-302
     62 - Weld County - 19     C0622023M 000399    18-12-302
     62 - Weld County - 19     C0622023M 002282    18-12-302
     62 - Weld County - 19     C0622023M 002282    18-12-302
     62 - Weld County - 19     D0622017CR001238   18-12-302(1)(a),(c)
    7 - Boulder County - 20    C0072023M 001534    18-12-302
    7 - Boulder County - 20    C0072023M 001534    18-12-302
    7 - Boulder County - 20    C0072023M 001534    18-12-302
    7 - Boulder County - 20    D0072021CR000497   18-12-302(1)(a),(c)
    7 - Boulder County - 20    D0072021CR000497   18-12-302(1)(a),(c)
    7 - Boulder County - 20    D0072021CR000497   18-12-302(1)(a),(c)
    7 - Boulder County - 20    D0072021CR000497   18-12-302(1)(a),(c)
    7 - Boulder County - 20    D0072021CR000497   18-12-302(1)(a),(c)
    7 - Boulder County - 20    D0072021CR000497   18-12-302(1)(a),(c)
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     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000497   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000882    18-12-302
     7 - Boulder County - 20       D0072021CR000882   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR000996   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR001410   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072021CR001410    18-12-302
     7 - Boulder County - 20       D0072021CR001998    18-12-302
     7 - Boulder County - 20       D0072022CR000198   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072022CR000410   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072022CR000867    18-12-302
     7 - Boulder County - 20       D0072022CR000896   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072022CR001349    18-12-302
     7 - Boulder County - 20       D0072022CR001351    18-12-302
     7 - Boulder County - 20       D0072023CR000155    18-12-302
     7 - Boulder County - 20       D0072023CR000402   18-12-302(1)(a),(c)
     7 - Boulder County - 20       D0072023CR001084    18-12-302
  87 - Boulder Cty-Longmont - 20   C0872022M 000395    18-12-302
  87 - Boulder Cty-Longmont - 20   C0872023M 000099    18-12-302
  87 - Boulder Cty-Longmont - 20   C0872023M 000516    18-12-302
  87 - Boulder Cty-Longmont - 20   C0872023M 000703    18-12-302
      39 - Mesa County - 21        C0392021M 000380    18-12-302
      39 - Mesa County - 21        C0392022M 000745    18-12-302
      39 - Mesa County - 21        D0392019CR000643    18-12-302
      39 - Mesa County - 21        D0392021CR000009   18-12-302(1)(a),(c)
      39 - Mesa County - 21        D0392021CR000009    18-12-302
      39 - Mesa County - 21        D0392021CR000221    18-12-302
      39 - Mesa County - 21        D0392022CR000076    18-12-302
